Case 1-18-47256-cec Doc39 Filed 04/04/19 Entered 04/04/19 13:01:05

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

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In re
AFFIDAVIT OF SERVICE
4921 12" Avenue, LLC, Chapter 11
Case No. 18-47256
Debtor.
x

 

STATE OF NEW YORK _ )
COUNTY OF NEW YORK ~

JOEL JEAN, being duly sworn, deposes and says: that deponent is not a party to
the action, is over 18 years of age and resides at Nine East 45" Street, Ninth Floor, New York,
New York 10017. That on the 3 day of April 2019, deponent served the within
DECLARATION IN SUPPORT OF GALSTER FUNDING LLC’S MOTION TO

TERMINATE EXCLUSIVE PERIODS AND TO APPROVE PLAN OF

REORGANIZATION upon:

OFFICE OF THE US TRUSTEE BALISOK & KAUFMAN, PLLC

201 Varick Street, Suite 1006 Attn: Joseph Y. Balisok, Esq.

New York, New York 10014 Attorneys for Debtor 4921 12th Avenue
a LLC

GALSTER FUNDING LLC 251 Troy Avenue

c/o Harry Zubli, Esq. Brooklyn, New York 11213

1010 Northern Blvd., Suite 310
Great Neck, New York 11021
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by depositing a true copy of same enclosed in a post-paid wrapper by first class mail, in an
official depository under the exclusive care and custody of the U.S. Postal Service within New

York State.

 

Sworn to before me this

BGilz. of April, 20]9

 
 
   

Notary Publéc

RAYMOND QUENTIN SPERLING
Notary Public, State of New York
No. 01SP4259734
Qualified in New York County

Commission Expires Apiil 16,
